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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11    J.J.G.,                                          Case No. 2:20-cv-02355-SHK
12                                  Plaintiff,
13                        v.
                                                       JUDGMENT
14    ANDREW SAUL, Commissioner of
      Social Security,
15
                                    Defendant.
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17
18          It is the judgment of this Court that the Social Security Commissioner’s
19   decision is REVERSED and this case is REMANDED to the Social Security
20   Administration for further proceedings consistent with this Court’s Order.
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     DATED: 04/28/2021               ________________________________
23                                   HONORABLE SHASHI H. KEWALRAMANI
24                                   United States Magistrate Judge
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